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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION


UNITED STATES OF AMERICA,

      Plaintiff,
                                                   CRIMINAL ACTION NO.
      v.                                             1: 10-cr-0519-AT-AJB

MOSES A. DAMIANI, JUSTIN
SAULTERS, DAMON J. SAULTERS,
WADDELL WHITE, TODD MIL TON
IVERY, and WILLIE WILSON,

      Defendants.



                                    ORDER

      This matter is before the Court on the Magistrate Judge's Report and

Recommendation as to Defendant Moses Damiani's motion to suppress statements,

Defendant Willie Wilson's motion for disclosure of items or statements arguably

subject to suppression and motion to suppress, Defendant Todd Milton Ivery's

amended motion to suppress, Defendants Damon Saulters, Moses Damiani, Justin

Saulters, and Waddell White's respective motions for relief from prejudicial

joinder/misjoinder, severance and separate trials, and Defendant Damon Saulters'

motion to strike surplusage from the indictment [Doc. 155].
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      Following the filing of the Report and Recommendation, several defendants

in this action have entered guilty pleas and are currently awaiting sentencing.

Defendant Willie Wilson entered a guilty plea on November 23, 2011 [Doc. 160].

Defendants Justin Saulters and Damon Saulters both entered guilty pleas on

February 21, 2012 [Docs. 174 & 176].       Accordingly, the Court DEEMS AS

MOOT the pending pretrial motions as to those defendants.

      The Court notes that no objections have been filed ill response to the

Magistrate Judge's Report and Recommendation. Therefore, in accordance with

28 U.S.C. § 636(b)(1) and Rule 59 of the Federal Rules of Criminal Procedure, the

Court has reviewed the Magistrate Judge's Recommendation for clear error and

finds none. Accordingly, the Court receives the Magistrate Judge's Report and

Recommendation with approval and hereby ADOPTS the Report and

Recommendation as the opinion of this Court as to the remaining Defendants

Damiani, White, and Ivery.


Conclusion

      This Court receives with approval and ADOPTS the Magistrate Judge's

Report and Recommendation as to Defendants Damiani, White, and Ivery [Doc.

155]. Defendant Damiani's motion to suppress statements [Doc. 51] is DENIED.

Defendants Damiani and White's respective motions for relief from prejudicial

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joinder/misjoinder, severance, and separate trials [Docs. 54 & 144] are both

DENIED.      Defendant Ivery's amended motion to suppress [Doc. 133] is

DENIED. Defendant Ivery's motion for an extension of time to file motions [Doc.

123] is TERMINATED; the motion was taken under advisement by the

Magistrate Judge at the pretrial conference on August 10, 2011, and this case was

certified ready for trial on September 23, 2011. Defendants Justin Saulters and

Damon Saulters' respective motions to allow participation in voir dire and

motions for relief from prejudicial joinder/misjoinder, severance, and separate

trials [Docs. 44, 48, 59, 62 & 132] are DEEMED MOOT. Defendant Damon

Saulters' motion to strike surplusage from the indictment [Doc. 132] is also

DEEMED MOOT.

      Defendants Damiani, Ivery, and White's respective motions to allow

participation in voir dire [Docs. 53, 122 & 143] are GRANTED. This case is set

for trial beginning April 23, 2012, at 1:30 PM in Courtroom 2308. The pretrial

conference will be held April 12, 2012, at 2:30 PM in Courtroom 2308. By 5:00

PM on Tuesday, April 3, 2012, the parties are to submit the following: jury

charges, motions in limine, exhibit list, witness list, and voir dire questions; the

Government must submit a brief statement of facts the parties can rely on for voir

dire, and the Defendants may submit such statements if they choose. By 5:00 PM


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on Tuesday, April 10, 2012, the parties are to submit any objections to those items

listed above.

       It is so ORDERED this V       day of March, 2012.




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